  Case 11-76429-lrc         Doc 41 Filed 06/20/12 Entered 06/21/12 02:15:22                       Desc Imaged
                                  Certificate of Notice Page 1 of 3

                                  UNITED STATES BANKRUPTCY COURT
                                       Northern District of Georgia
                                            Atlanta Division



In Re: Debtor(s)
       Kelley Quiana Smith                                Case No.: 11−76429−mhm
       2500 Meadow Grove Way                              Chapter: 13
       Lilburn, GA 30047
       xxx−xx−6292


                                 NOTICE TO CHAPTER 13 DEBTOR
                            REGARDING DOMESTIC SUPPORT OBLIGATIONS



      If you now have a domestic support obligation (an obligation to pay alimony, maintenance or support of your
spouse, former spouse, child or parent of your child (see 11 U.S.C. § 101(14A) for further explanation)) or if during
this case, a domestic support obligation is imposed upon you then, in order to receive your discharge, you must be
current (up−to−date) on all the payments for your domestic support obligation that:(1) came due before you filed
your bankruptcy petition and your Chapter 13 plan required you to pay, and (2) came due after you filed your
bankruptcy petition. See 11 U.S.C. § 1328(a). Before you receive your discharge you will be required to certify under
penalty of perjury that payments on your domestic support obligations are up−to−date by filing a Debtor's 11 U.S.C.
§ 1328 certificate. The Chapter 13 Trustee will provide a copy of this Certificate after you have completed all
payments on your confirmed Plan. IF YOU DO NOT FILE THIS CERTIFICATE YOU WILL NOT RECEIVE
A DISCHARGE AND THE CASE WILL BE CLOSED.

    This Notice will be served upon Debtor and counsel for Debtor.

June 18, 2012
Date




                                                          M. Regina Thomas
                                                          Clerk of Court
                                                          U. S. Bankruptcy Court



Form 427
         Case 11-76429-lrc            Doc 41 Filed 06/20/12 Entered 06/21/12 02:15:22                               Desc Imaged
                                            Certificate of Notice Page 2 of 3
                                                United States Bankruptcy Court
                                                Northern District of Georgia
 In re:                                                                                                     Case No. 11-76429-mhm
 Kelley Quiana Smith                                                                                        Chapter 13
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 113E-9                  User: dopsonp                      Page 1 of 2                          Date Rcvd: Jun 18, 2012
                                       Form ID: 427                       Total Noticed: 2


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jun 20, 2012.
 db            +Kelley Quiana Smith,    2500 Meadow Grove Way,   Lilburn, GA 30047-5788
 aty           +E. L. Clark,   Clark & Washington, P.C.,    Bldg. 3, Suite A,   3300 Northeast Expwy.,
                 Atlanta, GA 30341-3934

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jun 20, 2012                                       Signature:
      Case 11-76429-lrc      Doc 41 Filed 06/20/12 Entered 06/21/12 02:15:22              Desc Imaged
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District/off: 113E-9         User: dopsonp               Page 2 of 2                  Date Rcvd: Jun 18, 2012
                             Form ID: 427                Total Noticed: 2


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 18, 2012 at the address(es) listed below:
              Adam M. Goodman   cdsummary@13trusteeatlanta.com;cdbackup@13trusteeatlanta.com
              E. L. Clark   on behalf of Debtor Kelley Smith ecfnotices@cw13.com, ecfnotices@cw13fl.com
                                                                                             TOTAL: 2
